       Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 1 of 43




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------    ](



MIKE DIEDERICH JR., et al.,
                                                                                DECLARATION OF ROBIN
                                                            P laintifft,        F. SINGER IN SUPPORT OF
                                                                                THE MOTION TO DISMISS
                              -against-                                         OF THE CHANCELLOR OF
                                                                                THE NYC DEPARTMENT OF
LETITIA JAMES, et al.,                                                          EDUCATION AND BILL DE
                                                                                BLASIO, NEW YORK CITY
                                                         Defendants.            MAYOR
-----------------------------------------------------------------------   ](    No. 19 CV 35 (BKS)(CFH)


                 I, ROBIN F. SINGER, pursuant to 28 U.S.C. § 1746, do hereby declare the

following:

                 1.       I am Deputy Counsel in the Office of the General Counsel of the New York

City Department of Education ("NYCDOE"), Howard Friedman.

                 2.       My duties include representing the NYCDOE in litigations pending in

Federal and State courts and before administrative agencies, advising NYCDOE officials

regarding legal issues, including, but not limited to, school budgets and federal grants, drafting

Chancellor's Regulations, and conducting investigations. I am the attorney at the NYCDOE

handling this matter, in conjunction with the Office of the Corporation Counsel, otherwise known

as the New York City Law Department.

                 3.       I submit this Declaration in support of the Motion to Dismiss of the

Chancellor of the NYCDOE and Bill de Blasio, New York City Mayor, ("City Defendants") in the

above-captioned action.

                 4.       I make this Declaration based on personal knowledge, a rev1ew of

documents produced in the regular course of business, conversations with others employed by the

NYCDOE and by the City ofNew York, and where stated, upon information and belief.
      Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 2 of 43




               5.     On October 5, 2018, the NYCDOE received by mail a copy of the

Summons, dated November 19, 2007, and the Complaint, dated June 8, 2018, in this action.

Included with these documents was an Affidavit of Service that appeared incomplete and that listed

an Index Number differing from the Index Number on the Summons and Complaint. I have

attached a true and accurate copy of these documents hereto as Exhibit A.

               6.     Employees of the NYCDOE informed the New York City Law Department

of the NYCDOE's receipt of these documents.

               7.     On November 7, 2018, the Office of the NYCDOE Chancellor received

another copy of the same Summons and Complaint, but without a purported affidavit of service.

These documents were addressed to the NYCDOE Chancellor at the headquarters of the NYCDOE

in the Tweed Courthouse at 52 Chambers Street, New York, New York, 10007. I have attached a

true and accurate copy of these documents hereto as Exhibit B.

               8.     Employees of the NYCDOE again informed the New York City Law

Department of the receipt of these documents.

              9.      In later conversations with employees of the New York City Law

Department, I learned that Plaintiffs filed an Amended Complaint on December 11, 2018. To my

knowledge, the NYCDOE did not receive the Amended Complaint or a summons of any kind from

Plaintiffs after December 11, 2018. An attorney at the New York City Law Department emailed a

copy of the Amended Complaint to me on December 11, 2018.

               10.    Additionally, NYCDOE has designated the New York City Law

Department as its agent for service of process. An attorney at the New York City Law Department

informed me that the Complaint, the Summons, the Amended Complaint, and any amended




                                                -2-
     Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 3 of 43




summonses in this action were also not served on the NYCDOE at the New York City Law

Department.

              I declare under penalty of perjury that the foregoing is true and correct.

Dated:        March 22, 2019
              New York, New York




                                               -3-
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 4 of 43




                  Exhibit
                    A
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 5 of 43




                                                                 A000001
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 6 of 43




                                                                 A000002
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 7 of 43




                                                                 A000003
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 8 of 43




                                                                 A000004
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 9 of 43




                                                                 A000005
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 10 of 43




                                                                 A000006
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 11 of 43




                                                                 A000007
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 12 of 43




                                                                 A000008
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 13 of 43




                                                                 A000009
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 14 of 43




                                                                 A000010
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 15 of 43




                                                                 A000011
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 16 of 43




                                                                 A000012
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 17 of 43




                                                                 A000013
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 18 of 43




                                                                 A000014
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 19 of 43




                                                                 A000015
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 20 of 43




                                                                 A000016
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 21 of 43




                                                                 A000017
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 22 of 43




                                                                 A000018
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 23 of 43




                                                                 A000019
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 24 of 43




                                                                 A000020
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 25 of 43




                   Exhibit
                     B
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 26 of 43

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 SUPREME COURT OF THE STATE OF NEW YORK                                        R ECEI Y ED
 COTINTY OF ALBANY
                                                                         .   ltlg   t{0V   -t   P n: 5l
 Mrrp DtsopRICH JR., individually and
                                                                        OFFICE OF THE CItAi'ICELLOR
 on behalf of all citizens of the
 State of New York, and Josuua and JalNa Dos,
                               Plaintiffs,

                                                      Plaintiff designates Rockland
                                                      County as place of trial.
                                                      Venue based upon plaintifls
                                                      residence: Rockland County, NY

        agalnst                                               SUMMONS

 SBaw Parnrcr Mar-oNEy, BARnaRa UNoeRwooo,
 N.Y.S. ArroRNsv GENERAL,                                      Index # 903772-18
 rup CUAUCELLOR OF THE NYC DEPARTMENT OF
 EoucanoN, rrm SuIcRINTENDENT on Scuoor-s or
 rHE Easr Ravnpo CnNIIRAL Scuoot- DlstRtct,
 AND THE SupsRn'trgNDENT oF rue KIRvas Jogl
 Vu-Iace SCUOOT- DISTRICT,
                               Defendants,

 To the above named defendants:
         YOU ARE HEREBY SaMMONED                             and required to serve upon
 plaintiffs' attorney an answer to this complaint in this action within twenty days after
 service.of this summons, exclusive of the day of service, or within thirty days after
 service is complete if this summons is not personally delivered to you within the State        of
 New York. In case of your failure to answer, judgment will be taken against you by
 default for the relief demanded in the complaint.

        The action   will be heard in the Supreme Court of the State of New York in and
 for the County of Albany. The action is brought in the County of Rockland based upon
 plaintiffs' residence.

 Dated: Stony Point, New York
        November 19,2007
                                                               /st
                                                      Mrrs DrBonRrcH, JR.
                                                      Plaintffi Pro Se
                                                      Attorney atLaw
                                                      Diederich Law Office
                                                      361 Route 210
                                                      Stony Point, NY 10980
                                                      (84s) e42-07es




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 27 of 43




 SUPREME COURT OF THE STATE OF NEW YORK
 COUNTY OF ALBANY

 MIrs   DTBDBRICH JR.,   individually and
 on behalf of all citizens of the
 State of New York, and Jossua and JaNNR DoE,

                                      Plaintiffs,
                                                                 CITIZEN
                                                                 COMPLAINT
         against

 SgaN   ParRrcr Mar-ONEY, BARBARA             UNOENWOOO,
 N.Y. S. Atronlrnv GnnERAL,
                                                                 Index # 9t3772-18
 rtrn CTTaNcELLoR oF THE NYC DEPARTMENT OF
 EoucartoN, THe SUeERINTENDENT or Scuoot s op
 rup Easr Ravapo CBNrnal Scuool DISTRICT,
 anr rrip SUpERTNTENDENT oF rHp KrRvns JosL
 Vrllace Scsoot DISInICT,

                                      Defendants


         Plaintiff Mike Diederich, Jr., as a citizen and candidate for the Office of N.Y.S.

 Attorney General of the State of New York, on behalf of himself and all New York State

 citizens potentially denied political and legal representation, and children being denied a

 sound secular education in yeshivas, complains of the Defendants as follows:


                                   INTRODUCTORY STATEMENT

         This is an action.for iniunctive and declaratory relief.
         First, it seelrs   to   prohibit Congressman Sean Patrick Maloneyfrom
         simultaneously runningfor two ffices (Congress and the N.y.^S. AG), and
         requests that Attorney General Underwood join this lansuit as a plaintiff, because
         Maloney's runningfor two ffices is unlawful and deprives his constituents of an
         ele ctive repre s ent ative.

         Second, this lawsuit is against AG Underwood, in her fficial capacity, for the AG
         Office's continuingfailure to advocate for the educational rights to sound secular
         education of the children of Ultra-Orthodox (Hassidic) parents-rights to which
         all New Yorkers are entitled.




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 28 of 43




         Third, this lawsuit demands that the head of three public school systems take
         actio'n to protect the educational rights of Ultra-Orthodox children in Brooklyn,
         and in Rockland and Orange counties.
         Finally, this lm,vsuit asks that AG Underwood take action to help preserve our
         democracy, including expressing a willingness to sue or prosecute even the
         President of the United States if he isfound to have committed serious civil or
         criminal wrongdoing.
                           COMPLAINT TABLE OF CONTENTS

 Introductory Statement...                                                                          1

 Table of Contents.........                                                                          2
 Parties........                                                                                     J
   A.       Background                                                                               4
   B.       Hassidic children's constitutional right to an adequate education....................... 6
   C.       Democracy needs education on human behavior and civics..                                 7
   D.       Donald Trump' s potential "Presidency gone Rogue" ................                       7
   E.       Issues the Attorney General should address, for the People                               9
      a.'oJustice delayed is Justice denied (by State agencies and courts);                          9
      b. The "Religious Block Vote" damages democracy;                                              9
      c. "Ministerial immunity"--destroys the civil right and religious freedom          of
      individuals.......                                                                            9
     d.Injustice in Family Court and in Domestic Relations matters;                               9
     e. Injustice towards individuals in Federal Courts-the AG can 'oguilt" those courts
     into doing better;........
     f. The AG's Office can spearhead the fight against the Opioid Epidemic;........:........ 9
     g.Immigration Enforoement and Droamers The AG o&n onsure that N.Y.S. keeps
     its sovereignty and its values of fairness;                                                  9
     h. Puerto Rican debt litigation in the New York federal courts-the AG should be
     involved to protect New Yorkers' families and relatives;                                     9
     i. LGBT Rights and Gay Marriage-the AG must take the lead in ensuring the rights
     of personhood;.............                                             ....................9
     j. Abortion & choice-- the AG must protect womenos rights, and oppose non-
     majoritarian, Evangelical views of human rights;                           .................9
     k. Gun control-allowing concealed arms for everyone in our cities is insanity, and
     NRA disinformation must be exposed;.....                                          ..........9
     l. Private lawyers should be encouraged to represent the disadvantaged, and the
     victims of injustice;                                                                .......9
     m. The AG should advocate for the People's constitutional "right to petition" in all
     its forms; ...................                                       ....................... 9
     n. More jury trials are needed, by more courts;                        ..................... 9
     o. Worker's collective bargaining rights-workers must be allowed Unions who can
     protect them against Corporate America;                                                      9


                                                  2



                                                                                                    B000003
Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 29 of 43




     p. Protecting employees in the workplace against unlawful discrimination or
     harassment (sexual or "bullying"), and                                                    ... 10
     q. Protecting the Environment against loss of biodiversity and global warming. ...           l0
     F. Representative Maloney should remain in       Congress-to fight for democracy ...         10


     FIRST CAUSE OF ACTION - request for declaration that the Defendant Attorney
     General must take Precautionary Action to Protect our democracy and the rule of law
     against a potentially rogue U.S. president, e.g., Donald Trump                    l0
     SECOND CAUSE OF ACTION - request for a declaration and Affirmative
     Injunction that the Afforney General Underwood take appropriate measures to
     protect the Educational rights of the children of ultra-orthodox (Hassidic) parents .        13

     THIRD CAIISE OF ACTION - request for declaratory and Injunctive relief that the
     Public school system Defendants protect the educational rights of the children of
     hassidic parents in kings, rockland and orange counties             ....................... l5

     FOURTH CAUSE OF ACTION - Request for Declaratory and Injunctive Relief that
     Representative Maloney cannot simultaneously Run for Two political Offices, as this
     is illegal and deprives New York voters of representation.......... ........... l6
     CONCLUSION.........                                                                          t7


                                           PARTIES

       1.   Plaintiff Michael "Mike" Diederich, Jr. is a resident and taxpayer of the Town

 of Stony Point, County of Rockland, State of New York, and is presently seeking the

 office ofthe Attorney General of the State ofNew York.

       2.   Plaintiff s Joshua Doe and    Janna Doe, are fictitious names of children     of

 Ultra-Orthodox (Hassidic) parents receiving a deficient secular education because of their

 parents' and their religious community's insularity.

       3.   Defendant Barbara Underwood is the esteemed former Solicitor General and

 recently appointed Attorney General of the State of New York.
            'Defendant
       4.                Sean Patrick Maloney is a resident of the State and the incumbent

 and very competent U.S. Representative for New York's 18th congressional district.




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 30 of 43




       5.       The Defendant Superintendents and Chancellor of the above-captioned public

 school districts, upon information and belief, are each heads a public school district

 wherein are located private schools run by ultra-Orthodox (Hassidic) sects.

    A. Background
       6.       Plaintiff Diederich is a citizen, taxpayer and resident who pays taxes to

 various taxing authorities in the State of New York, including income tax to the State              of

 New York.

       7.       Plaintiff is also   a   public citizen, a lawyer, and a retired o'citizen soldier," with

 29 years of service in the U.S. Army Reserve, including active duty tours of duty in

 Germany (1934-87) during the Cold War, to \raq(2014-05) and to Afghanistan (2012,

 Bronze Star medal), retiring in the rank of lieutenant colonel.

       8.       As a citizen of the State of New York and as a citizen and patriot of the

 United States of America, Plaintiff has grave concerns that our democracy is threatened

 by an American citizenry that is not sufficiently involved in public affairs, and where the

 citizens are not adequately represented by their elected officials.

       9.       Plaintiff also has grave concerns that our democracy is threatened by a1

 American society that is increasingly deficient in the education needed for our democracy

 to survive.

       10. Specifically, upon information and belief,             to the same degree that citizens are

 not adequately educated in secular fields of study of history, science and civics, they are

 less able to understand the needs           of democracy   as formulated by the   United States' and

 New York State's Founding Fathers.

       I   1.   This lawsuit asserts that in several different respects, the State Attorney

 General's Office is not sufficiently protecting our democracyo because New York State

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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 31 of 43




 and its political subdivisions are permitting an inadequately educated citizenry, and for

 political purposes are creating an ill-informed citizenry, resulting in State action such     as:


            a.   Deeming money to be speech for State (and federal) constitutional

                 purposes, thereby depriving the voters of middle class or less wealth    of

                 access   to elected representatives, and thus depriving them oftheir federal

                 and state constitutional right to petition government;

            b.   The Gerrymanderins of political districts to ensure the politicians' re-

                 election;

            c.   Allowing corporate profit to trump the health and safety of New York's

        .        public, as most recently reflected by the opioid epidemic, but also in the

                 destructive (and racially biased) criminal justice system of mass

                 incarceration;

            d.   Failing to argue against "lqi1isteria!-i$lqunity" for lay teachers and

                 principals of Roman Catholic parochial schools, and thereby silently

                 endorsing a Second Circuit Court of Appeals interpretation of the Hosanna-

                 Tabor Supreme Court case that will endanger the civil rights of all

                 employees of Church-affi liated entities;

            e.   Failing to argue for the interests of middle class and lower wage employees.

                 and-union:ryqkp6, who have been wrongfully terminated from

                                                jury trial by federal court judges who seem
        .        employment, yet denied     a


                 uninterested in or hostile to the idea of protecting the rights of individuals;

            f.   Failine to protect the interests of small business trying to operate their

                 businesses in the State   ofNew York, yet oppressed by the unreasonable



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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 32 of 43




                     actions of governmental bureaucrats, where the Attomey General,s

                     subordinate staff could correct the abuse, and protect the small business

                     owner and its employees;

               g.    Failing to sufficient protect the natural environment and human health; and

               h.    Failing to protect the educational riehts of Hassidic children, thereby

                     depriving them of the constitutional right of (and the body politic's need

                     for) an educated, inflrrmed citizenry

 and that     it is the job of the Attorney General to take appropriate legal action in state and

 federal courts, including the U.S. Supreme court, to rectify the above problems.

           12.   The candidates for the office of Attorney General should address the above

 issues in their respective campaigns.

           13. Plaintiff will    discuss the subject of the aeluquate cduuation of children first.

        B. Hassidic children's constitutional right to an adequate education
          14. Taken to the extreme, Plaintiff believes that if an insular community (religious
 or otherwise) prevents its members' children from receiving an adequate secular

 education (an education in the 3 R's,1 science, history and civics), the children         will find
 it impossible to become informed, contributing citizens ofthe larger body politic. The

 children     will   also, for example, be unable to academically qualifo for military service.

           15.   Under the Education Law of the State of New York, the superintendent          of
 schools of the public school system in which a private school (including ooreligious"

 school) is located is required to enforce the New York State requirement that the children

 of all private schools (including religious) receive a substantially equivalent education as

 do public school students.

 /
     Reading, writing and arithmetic.

                                                     6



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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 33 of 43




       16. Upon information        and   belief one or more Hassidic yeshivas in each of the

 above-referenced school districts fail to provide elementary and high school aged

 children with an education in secular subjects that is substantially equivalent to the

 education provided in the public schools within the school district.

     C. Democracy needs education on human behavior and civics
       17. Upon information and belief, a sound secular education is needed in today's

 world in order for the citizenry to maintain a viable democracy under the rule of law.

 This requires the teaching of history, the social sciences, the biological sciences as

 relevant to human behavior, and perhaps most importantly, principles of government and

 civics.

        18. One consequence of the failure of schools in our       state and our nation to teach
              .

 the above-referenced topics is that citizens fall prey to emotional appeals over reason;
                                                              o'in-group" versus their
 become tribal in their interactions with other people (their

                            ooout-group"); become overly opinionated; and succumb to divisive
 perceived opponents'

 approaches go politics, with hatred of others the consequence.       Civility in political

 discourse becomes impossible.

     D. Donald Trumpos potential'oPresidency gone Rogueto
       19. One result of the lack of education about human nature and civics is the

  inability of politicians at the national level to compromise with the other side for the good

  of the American people. Politics becomes blood sport. Special interest and corporate

  money is the addictive drug. Re-election and the accoutrements of power (including the

  financial rewards after leaving office) are the drug's euphoria.

           20. Plaintiff   Diederich believes the situation in New York, with our educated

  citizenry and ethnic, religious and cultural diversity, is much better than in the nation.


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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 34 of 43




  Nevertheless, unless political leaders such as the state Attorney Generals in New York

  and neighboring states take action to     fix our democracy, our politics will become ao'race

  to the bottom."

        21.   one of "our own," New Yorker Donald Trump, is an example of the type of

  individual who can lead our Country into the abyss. Hopefully he will not. But Plaintiff

  believes that President Trumps actions and words, and those of his attorneys, are views

  which, if accepted, threaten our democracy andthe Republic.

        22.   For example, former Mayor Rudolf Guliani's statement, as President Trump's

  lawyer, that President Trump could have 'oshot" FBI Director comey and yet been

  immune from prosecution is to view the President as a monarch, not an elected

  representative of the people. Mr. Trump is not above the      law. His oath of office is to

  uphold the lalv, including thc Constitution.

        23. If a president    can shoot people and not be subject to prosecution, then he can

  also orchestrate a purge, like Hitler or Stalin, and not be subject to prosecution. This is

 not the form of government that the Founding Fathers envisioned or fought        for.   This is a

 form of government that citizens must resist.

        24.   The N.Y.S. Attorney General, as top lawyer in the state, must undertake all

 reasonable means to ensure tirat New York is protected against a monarchial federal

 government, and a rogue President. Hopefully the rogue president        will not be Donald
 Trump, but if President Trumps' views of power are left unchallenged, one day in the

 future the rogue president    will   arise, and Attorneys General and States must be prepared

 to defend the Republic and democracy under the rule of law.

       25.    New York's Attorney General must lead the way.



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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 35 of 43




    E. Issues the Attorney General should addresso for the People
      26. The failure to soundly educate the public in topics which are needed in order
 to have arutional, civil debate for the welfare of the majority of citizens, respecting the

 rights of the minority, include vital issues of the day, many of which are important for the

 long-term survival of our democracy.

          27.   Plaintiff suggests that Attorney General Underwood and the other AG

 candidates consider the following as a partial list of necessary legal advocacy and

 problems that the AG could assist in solving:

     a. ooJustice delayed is Justice denied (by State agencies and courts);
     b. Thb "Religious Block Vote" damages democracy;
     c. "Ministerial immunity"-destroys the civil right and religious freedom of
           individuals
     d. Injustice in Family Court and in Domestic Relations matters;
     e. Injustice towards individuals in Federal Courts-the AG can ooguilt" those courts
           into doing better;
     f.    The AG's Office can spearhead the fight against the Opioid Epidemic;
     g.    Immigration Enforcement and Dreamers-The AG can ensure that N.Y.S. keeps
           its sovereignty and its values of fairness;
     h.    Puerto Rican debt litigation in the New York federal courts-the AG should be
           involved to protect New Yorkers' families and relatives;
     i.    LGBT Rights and Gay Marriage-the AG must take the lead in ensuring the
           rights ofpersonhood;
     j.    Abortion & choice-- the AG must protect women's rights, and oppose non-
           majoritarian, Evangelical views of human rights;
     k.    Gun control-allowing concealed arms for everyone in our cities is insanity, and
           NRA disinformation must be exposed;
     l.    Private lawyers should be encouraged to represent the disadvantaged, and the
           victims of injustice;
     m. The AG should advocate for the People's constitutional "right to petition" in all
           its forms;
     n. More jury trials are needed, by more courts;
     o. Worker's collective bargaining rights-workers       must be allowed Unions who can
           protect them against Corporate America;

                                                9



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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 36 of 43




     p.     Protecting employees in the workplace against unlawful discrimination or
            harassment (sexual or "bullying"), and
     q.     Protecting the Environment against loss of biodiversity and global warming.


       28.     The AG candidates are requested to state their views as to the above matters,

 whether or not they choose to intervene in this lawsuit (and they are invited to

 intervene-if they know how,       as none is a   practicing lawyer).

     X'. Representative Maloney should remain in Congress-to fight for democracy
       29. If Defendant Maloney runs for both his congressional seat, and also for'
 Attorney General, he will hurt the constituency that has supported him. For example,          if
 he wins the    AG primary, he will deprive his congressional district of its voters desired

 representative-him      !



       30.     On this subject, AG Underwood can serve as a "neutral." Plaintiff requests

 that she join him in opposing Congressman Maloney's bid for two separate elective

 offices.

       31.     Attorney General Underwood should take over this litigation as to

 Congressman Maloney.


                     FIRST CAUSE OF'ACTION -
     REQUEST FOR DECLARATION THAT THE DEFENDANT ATTORNEY
    GENERAL MUST TAKE PRECAUTIONARY ACTION TO PROTECT OIJR
     DEMOCRACY AND THE RULE OF LAW AGAINST A POTENTIALLY
             ROGUE U.S. PRESIDENT, E.G., DONALD TRUMP

       32.     Plaintiffs repeat and reallege each of the above paragraphs as a fully set forth

 here again at length

       33.     What if, hypothetically, President Trump were found to have committed high

 crimes, or even treasono warranting criminal prosecution? Or if hypothetically he were to

 shoot the current FBI Director or Mr. Mueller, or Senator McCain and other Republicans



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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 37 of 43




 standing up for the rule of law (or who otherwise might vote to convict the President

 upon impeachment)? Such would be the action of a rogue president, and also a form          of

 purge that has been common in human        history-the strong man overcoming political

 opponents through force. This is nothing in our country that prevents this type      of

 tyrannical power grab except our values (developed through education in civics, our

 history and our culture) and the rule of law.

       34. The N.Y.S.      Attorney General, and other states' attorneys general, must take

 precautionary action to prevent the destruction of the rule of law, and the possible

 destruction of our democracy by a future autocrat.

       35.      The Attorney General can certainly set an example, by acting in a clearly

 apolitical fashion in enforcing the law without consideration of politics. The Attorney

 General can lead by example regarding bi-partisanship, and reducing conflict between

 political factions; and striving for cooperation in pursuit of the public welfare.

          36. But prudence dictates, in this Age of Trump, that the Attorney   General also

 take precautionary action to protect our democracy.

          37.   One such action is to enforce school educational requirements, so that when

 school children become adults, they are also educated and informed citizens that can

 recognized a demagogue when one appears, and oppose authoritarianism.

          38.   But the Attorney General must also take steps to safeguard the state and

 nation   in   the event of that a rogue president attempts to destroy representative democracy

 under the rule of law.




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 38 of 43




 The N.Y.S. Attornev General can criminall v nrosecute a U.S. President under state law

       39.   For exampleo   if   sound evidence were uncovered showing that President

 Trump committed serious felonies in New York State, then the Attorney General should

 indict and prosecute him if within the AG's jurisdiction.

       40.   The President has no power to pardon himself against a state court

 prosecution.

 glhEfppqqrynusllg-glplglgd-for eflalqplg,a military court martial                  against the
 "Commander in Chief'

       41.   The N.Y.S. Attorney General, preferably in cooperation with other Attorney

 Generals throughout the Nation, should develop other legal strategies to protect our

 federal Republic and our democracy           if   a rogue President were   to arise.

       42.   As another example of a possible legal remedy to a rogue president, a sound

 argument might be made that asooCommander in Chief'and thus top officer of the U.S.

 armed forces (U.S. Cotrlsrtr., Art.    II,    $. 2,.C1.    1), that he is also subject to the Uniform

 Code of Military Justice ("I-ICMJ"), Thus, if the President were to commit a crime

 punishable under the UCMJ (for example, Aiding the Enemy, 10 U.S.C. g 904,                   of

 destroying government property, $ 909, or malingering, $ 915, or murder, S 118, rape or

 carnal knowledge, $ 120, to name a few military crimes), any service member could

 prefer UCMJ charges against him and a convening authority would decide whether a

 court martial trial should be held.

       43. Since the President      swore an oath to abide by the law, he should recuse

 himself from influencing or supervising the military court martial tribunal, and for the

 same reason should be precluded from pardoning himself (his                Art. II, $ 2 power).




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 39 of 43




        44.   The N.Y.S. Attorney General could effectively argue the applicability of the

 UCMJto the president if the circumstances warranted. For example, the AG could

 support a New York resident on active military duty or afederalized National Guard

 soldier in filing UCMJ charges against the president, and supporting a panel of senior

 military generals in trying the case.

        45.   The AG could persuasively argue to the U.S. Supreme Court that allowing a

 UCMJ proceeding would uphold the Rule of Law.

        46. If the President   were convicted, the U.S. Vice-President would uphold or

 reverse the convictiono and   if upheld, the Vice-President would then take office. There

 would be no military coup. Our democracy and rule of law would remain intact.

       47.    Because our democracy under the rule of law is at risk if the N.Y.S. Attorney

 General does not exercise his or her powers to safeguard against a rogue president, this

 Court must enjoin and direct the Attorney General to examine whether credible risks to

 our democracy under the rule of law exist under President Donald Trump, and            if   so, to


 take appropriate precautionary measures or,   if sufficient   evidence exists, to file a lawsuit

 to femedy non-criminal wrongdoing or to prosecute a criminal indictment in state court               if
 credible evidence of serious crime is found to exist.


                   SECOND CAUSE OF ACTION.
  REQUEST FOR A DECLARATION AND AFFIRMATIVE INJUNCTION THAT
     THE ATTORNEY GENERAL UNDERWOOD TAKE APPROPRIATE
     MEASTJRES TO PROTECT THE EDUCATIONAL RIGHTS OF THE
        CHILDREN OF ULTRA-ORTHODOX (HASSIDIC) PARENTS

        48. Plaintiffs repeat and reallege each of the above paragraphs      as a   fully set forth

  here again at length.




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 40 of 43




       49.   The N.Y.S. Education Law requires that private schools in the state, including

 "religious" schools, provide a secular education oosubstantially equivalent" to the

 instruction received in the public schools of the geographical area.

       50.   Upon information and belief in some, or perhaps many, yeshivas run by

 Ultra-Orthodox (Hassidic) sects, the children of these sects' members do not receive a

 sound secular education, nor an education even approaching what is given in the public

 schools and that is necessary to be eclucated and informed members          ofthe larger

 community.

       51. Plaintiff requests the Court to direct Attorney       General Underwood to take all

 appropriate and necessary action to compel local superintendent ofschool, and the

 private schools (yeshivas) to provide the children with a sound secular education, dnd one

 suffrcient to educationally quali$r thc studeuts, by age 18, to serve in the U.S. nrilitary      if
 called upon to do so in time of national crisis. This is a civil obligation that should apply

 to all citizens, regardless of their religion2 or cultural identity.

       52.   The children, and the larger body politic, are injured when children do not

 grow to be educated, informed citizens.

       53. If necessary, the Court     can permissibly view some or all of the relief requested

 in this complaint as a petition under CPLR Article 78.

        54. Plaintiffs   request this declaratory and injunctive relief.




 'As to bona fide conscientious objectors, the 1 8 year old should be qualified for alternative civic
 duties in a national crisis, for example, serving as medical personnel.

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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 41 of 43




                     THIRD CAUSE OF ACTION.
   REQUEST FOR DECLARATORY AND INJUNCTIVE RELIEF'THAT THE
  PUBLIC SCHOOL SYSTEM DEF'ENDANTS PROTECT THE EDUCATIONAL
          RIGHTS OF'THE CHILDREN OF'HASSIDIC PARENTS
           rN KINGS, ROCKLAIID AND ORANGE COUNTIES

         55. 'Plaintiffs repeat and reallege each ofthe above paragraphs     as a   fully   set forth

 here again at length.

         56.   The Defendant N.Y.S. Schools Chancellor, and two other Defendant

 Superintendent of Schools, have a legal duty under the N.Y.S. Education Law and N.Y.S

 Constitution to protect children's educational needs, and to guarantee them a sound

 secular education, substantially equivalent to that given in the public schools, so that

 these children can be educated, productive citizens upon reaching the age of majority.

         51. Upon information     and belief, the Defendant school heads are failing in this

 duty.

         58.   Plaintiff requests that the Court direct the Defendant school heads to take

 appropriate action to protect the educational rights of Hassidic children.

         59. Plaintiff requests that this Court   allow one or more real children to be

 substituted for the fictitious "Doe" plaintiffs named in the caption, of any parents brave

 enough to stand up against their insular religious sect in support of better secular

 education.

         60. Plaintiffs requests that the Court   grant this declaratory and injunctive relief.




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 42 of 43




                   FOURTH CAUSE OF ACTION.
     REQUEST F'OR DECLARATORY AND INJUNCTIVE RELIEF'THAT
   REPRESENTATIVE MALONEY CAIINOT SIMULTANEOUSLY RUN FOR
   TWO POLITICAL OF'FICES, AS THIS IS ILLEGAL Ai\D DEPRIVES NEW
                YORK VOTERS OF' REPRESENTATION

       61. Plaintiffs       repeat and reallege each ofthe above paragraphs as a           fully set forth

 here again at length.

       62. It will deny New York citizens their right to a representative, if Congressman
 Maloney seeks two different elective        offices.                                  .    j   f   .i

       63.   Most obvious is that if Mr. Maloney were to be elected to both offices, he

 could not serve in both offices. He would need to choose, thereby abandoning the voters

 ofthe office he vacated.

        64. The citizens       who voted for him for Congress would, for example, immediately

 find that thcir votc was wastcd if hc wcrc to rcsign that officc to bccomc N.Y.S. Attorncy

 General.

       65.   There would be insufficient time to find an adequate, electable congressional

 candidate as a replacement. In view of our national politics, the loss of a Democratic seat

 in Congress is (in Plaintiff s view) not what the voters want.

       66. Upon information and belief, federal and state election             laws prevent

 Congressman Maloney from seeking two offices simultaneously.

       67.   Attorney General Underwood and her staff are legal experts in this field. And

 she is an apolitical, career     civil servant. Thus,      as a'oneutral," she should closely examine


 this issue and,   if   she finds that the law is on   Plaintiff s side, take the side of Plaintiff in

 this lawsuit.




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Case 1:19-cv-00035-BKS-CFH Document 13-2 Filed 03/22/19 Page 43 of 43




       68.    Wherefore, Plaintiff requests appropriate declaratory and injunctive relief

 against Congressman Maloney       if it finds that he is violating federal or state election law

 by running for two different elective offices.

                                        CONCLUSION

       WHEREFORE, Plaintiff Diederich requests that the Court grant declaratory and

 injunctive relief:

       a.    Tak^ing appropriate action to defend our democracy under the rule    of law,
             including, if necessary suing or prosecuting the  President of the United State     if
             sufficient credible evidence for such action exists or is uncovered;
       b. Compelling AG Underwood            to take action to protect the educational rights   of
             Hasidic children;
       c.    Compelling the Defendant public school heads to likewise take action to protect
             the educational rights of Hasidic children; and
       d.    Prohibiting Congressman Maloney from running for two office simultaneously
             (Congress and N.Y.S. Attorney General);

       e.    allowing AG Underwood to substitute into this action as a Plaintiff if she sees
             that the law and facts favor Plaintiffs,
       f.    deeming this complaint to be a hybrid action/Article 78 proceeding       if
             necessary, and
       g.    granting such other and further relief as this Court deems just and equitable.


 Dated: Stony Point, New York
            June 8,2018
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